Case 1:17-cv-01932-TSC Document 30-9 Filed 11/19/18 Page 1 of 8
                              6
                 Case 1:17-cv-01932-TSC Exhibit
                                         Document630-9
                                                   Pg. Filed
                                                       1 11/19/18 Page 2 of 8
..   ,              . U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                    Office of Federal Operations
                                          P. 0. Box 77960
                                     Washington, D.C. 20013


                                           May 05, 2016



         Anthony Perry                           Docket# : 0120161632
         5907 c~oom Station R                    Filed    : 04/13/16
         Upper Marlboro, MD 20772                Agency Number(s): 63-2016-00083




         Dear Mr. Perry:

         This Commission acknowledges receipt of ~he above refer~nced appeal on the data
         indicated. Any statement or brief in support of the appeal must be submitted to
         the Commission as well as to the agency within 30 days of filing the notice of
         appeal.  The Commission will accept statements or briefs in support of an appeal
         by facsimile transmittal (Fax number 202-'-663-7022) provided they are no more
         than ten (10) pages long.   You are reminded that it is your responsibility to
         ensure that the agency receives a copy of any material you submit to th:i,s
         office.   You should reference the above docket· number in all submissions and
         correspondence to the Commission.

         You will be notified by first class mail as soon as a decision is reached on the
         appeal.    You are responsible for providing the Conmlission with notice of any
         change of address.    The ConL~ission will terminate the processing of the appeal
         i f you file a civil action, in accordance with 29 CFR 1614.409.

         The Commission's appellate regulations are found in Title 29, Code Of Federal
         Regulations, Part 1614 and at 64 Federal Register 37644 (1999). The regulations
         are available on the Internet on EEOC's Home Page: WWW.EEOC.gov.· You are urged
         to review these regulations.

         If you have questions regarding the processing of the appeal, please call the
         EEOC, Office of Federal Operations at (202) 663-4599 and ask to speak to the
         Officer of the Day.

                                               Sincerely,




                                               Robert J. Barnhart, Director
                                               Compliance and Control Division
                                               Office of Federal Operations


         CC:
        Case 1:17-cv-01932-TSC Document 30-9 Filed 11/19/18 Page 3 of 8
                                     Exhibit 6 Pg. 2


             U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                 Office of Federal Operations
                                        P.O. Box 77960
                                   Washington, DC 20013

                                      Anthony Perry, a/k/a
                                         Laurence L., 1
                                         Complainant,

                                               V.


                                       Penny Pritzker,
                                          Secretary,
                                   Department of Commerce
                                    (Bureau of the Census),
                                           Agency.

                                    Appeal No. 0120161632

                                  Agency No. 63-2016-00083

                                           DECISION

Complainant filed a timely appeal with this Commission from the Agency's decision dated
March 23, 2016, dismissing his complaint of unlawful employment discrimination in violation of
Title VII of the Civil Rights Act of 1964 (Title VII), as amended, 42 U.S.C. § 2000e et seq.

                                        BACKGROUND

At the time of·events giving rise to this complaint, Complainant was a former employee, who
previously worked as an Information Technology Specialist with the LAN Technology Support
Office, at the Agency's Bureau of Census facility in Suitland, Maryland.

On March 8, 2016, Complainant filed a formal complaint alleging that the Agency subjected him
to discrimination on the bases of race (African-American), sex (male), age (over 40), disabilities
(not specified) and reprisal for prior EEO activity when management officials coerced him into
signing a settlement agreement, which precluded him from applying for reemployment with the
Agency in November of 2015.

The record shows that the parties entered into a Settlement Agreement on August 22, 2011. The ·
Agreement resolved all of the claims that Complainant had with the Agency up to the effective
date of the agreement. The Agreement stated that "by entering into this Agreement, Complainant


1
 This case has been randomly assigned a pseudonym which will replace Complainant's name
when the decision is published to non-parties and the Commission's website.
          Case 1:17-cv-01932-TSC Document 30-9 Filed 11/19/18 Page 4 of 8
                                       Exhibit 6 Pg. 3


                                                 2                                     0120161632

 does not waive rights or claims that may arise after the effective date of the Agreement." Under
 the terms of the Agreement, however, Complainant voluntarily agreed to resign from the Agency
 and agreed to not apply for, or accept, any positions with the Agency in the future. The validity
 of the Agreement was the subject of an earlier EEOC decision. See [Complainant] v.
 Department of Commerce (Bureau of the Census), EEOC Appeal 0120130129 (February 21,
 2014). We affirmed the Agency's dismissal of his complaint (Agency No. 63-2012-01951) and
 also found that the settlement agreement was valid. Complainant withdrew his request for
 reconsideration.

  Complainant then appealed to the Merit Systems Protection Board (MSPB), which dismissed his
  appeal on threshold jurisdictional grounds. The MSPB found that there was sufficient evidence
  to show that the parties entered into a valid, enforceable settlement agreement and that there had
, been no coercion or misrepresentation involved in the execution of th.e Agreement. Complainant
  then raised this same matter before the United States Court of Appeals for the District of
  Columbia Circuit, No. 14-1155. He attached his brief in support of his appeal. See Attachment
  A, February 13, 2015.

 Agency Decision

 In its decision, the Agency dismissed the complaint under 29 C.F.R. § 1614.107(a) (1) for failure
 to state a claim. The Agency reasoned that, "because this complaint concerns a collateral attack
 on another proceeding, this claim is appropriate for dismissal." The Agency also dismissed the
 complaint for untimely EEO counseling.

 On appeal, Complainant attached his "Initial Brief to the U.S. Court of Appeals for the DC
 Circuit" and he referenced the MSPB decision. He argues that this supporting evidence is
 "uncontested and undeniable" proof that the Agency actions are a violation of Complainant's
 constitutional right to due process and equal protection under the law. He stated that the
 Agreement is invalid, because he claims that the agreement violates EEOC's Guidance on non-
 waivable employee rights.

 In response, the Agency asserts that the issue of whether the Agency coerced Complainant into
 signing the settlement agreement was a central issue and was litigated and decided by the EEOC
 and the MSPR The Agency maintains that the complaint was properly dismissed because
 Complainant is precluded from challenging the validity of the agreement, by the doctrine of
 collateral estoppel. The Agency also maintains that Complainant did not contact an EEO
 counselor until November 27, 2015, which was more than four years beyond the date on which
 the Agreement was entered. In addition, the Agency argues that the valid and enforceable
 settlement agreement prevents Complainant from stating a claim of discrimination because he
 agreed nqt to apply for or accept any position with the Agency.
         Case 1:17-cv-01932-TSC Document 30-9 Filed 11/19/18 Page 5 of 8
                                       Exhibit 6 Pg. 4


                                                  3                                    0120161632


                                   ANALYSIS AND FINDINGS

Our review is de novo. Initially, we note that the Agreement expressly stated that Complainant
did not waive rights or claims that may arise after the effective date of the Agreement.
Therefore, we find that the Agreement does not raise a prospective waiver issue. Moreover, we
agree that the Commission has already addressed the issue of the validity of the Agreement at
issue. Because the issue of the settlement validity was already decided, Complainant is precluded
from trying to re-litigate under the doctrine of collateral estoppel.

 Untimely EEO Contact

 EEOC Regulation 29 C.F.R. § 1614.105(a)(l) requires that complaints of discrimination should
 be brought to the attention of the Equal Employment Opportunity Counselor within forty-five
 (45) days of the date of the matter alleged to be discriminatory or, in the case of a personnel
 action, within forty-five (45) days of the effective date of the action.

 In this case, the record shows that Complainant made timely EEO contact on November 27, 2015
 with regard to his application for an Associate Director of Information Technology and Chief
 Information Officer position in November of 2015. Complainant's EBO counselor contact was
 timely made from the November 2015 alleged discriminator event.

 For that reason, we find that the Agency failed to meet its burden of establishing that
 Complainant's contact was untimely made.

 Failure to State a Claim

  An agency shall accept a complaint from any aggrieved employee or applicant for employment
  who believes that he or she has been discriminated against by that agency because of race, color,
  religion, sex, national origin, age or disabling condition. 29 C.F.R. §§ 1614.103, 1614.106(a).
  The Commission's federal sector case precedent has long defined an "aggrieved employee" as
  one who suffers a present harm or loss with respect to a term, condition, or privJlege of
· employment for which there is a remedy. Diaz v. Dep't of the Air Force, EEOC Request No.
  05931049 (Apr. 21, 1994). When the complainant does not allege he or she is aggrieved within
  the meaning of the regulations, the agency shall dismiss the complaint for failure to state a claim
  pursuant to 29 C.F.R. § 1614.lO?(a)(l).

 In this case, Complainant has not alleged a present harm for which we can grant a remedy. No
 relief can be granted to Complainant as an employee because the terms of the settlement
 agreement are dispositive of the employment related claims for the period during which he was
 an employee. In addition, because he agreed to not apply for re-employment, the Agreement
 would be dispositive of any claims that he might bring as an applicant for reemployment.
 Consequently, he does not have any viable claims as an applicant or employee. We find,
 therefore, that Complainant failed to state a claim for which relief can be granted.
         Case 1:17-cv-01932-TSC Document 30-9 Filed 11/19/18 Page 6 of 8
                                      Exhibit 6 Pg. 5


                                                4                                     0120161632


Upon review, the Commission finds that Complainant's complaint was properly dismissed
pursuant to 29 C.F.R. § 1614.107(a)(l) for failure to state a claim.

                                         CONCLUSION

Accordingly, we AFFIRM the Agency's final decision dismissing Complainant's complaint for
the reasons stated herein.

                           STATEMENT OF RJGHTS - ON APPEAL
                              RECONSIDERATION (M0416)

The Commission may, in its discretion, reconsider the decision in this case if the Complainant or
the Agency submits a written request containing arguments or evidence which tends to establish
that:

       1.      The appellate decision involved a clearly erroneous int~rpretation of material fact
               or law; or
       2.      The appellate decision will have a substantial impact on the policies, practices, or
               operations of the Agency.

Requests to reconsider, with supporting statement or brief, must be filed with the Office of
Federal Operations (OFO) within thirty (30) calendar days of receipt of this decision or within
twenty (20) calendar days of receipt of another party's timely request for reconsideration. See
29 C.F.R. § 1614.405; Equal Employment Opportunitv Management Directive for 29 C.F.R. Part
1614 (EEO MD-110), at Chap. 9 § VII.B (Aug. 5, 2015). All requests and arguments must be
submitted to the Director, Office of Federal Operations, Equal Employment Opportunity
Commission. The requests may be submitted via regular mail to P.O. Box 77960, Washington,
DC 20013, or by certified mail to 131 M Street, NE, Washington, DC 20507. In the absence of a
legible postmark, the request to reconsider shall be deemed timely filed if it is received by mail
within five days of the expiration of the applicable filing period. See 29 C.F.R. § 1614.604. The
request or opposition must also include proof of service on the other party.

Failure to file within the time period will result in dismissal of your request for reconsideration
as untimely, unless extenuating circumstances prevented the timely filing of the request. Any
supporting documentation must be submitted with your request for reconsideration. The
Commission will consider requests for reconsideration filed after the deadline only in very
limited circumstances. See 29 C.F.R. § 1614.604(c).

                COMPLAINANT'S RIGHT TO FILE A CIVIL ACTION (S0610)

 You have the right to file a civil action in an appropriate United States District Court within
 ninety (90) calendar days from the date that you receive this decision. If you file a civil action,
 you must name as the defendant in the complaint the person who is the official Agency head or
        Case 1:17-cv-01932-TSC Document 30-9 Filed 11/19/18 Page 7 of 8
                                      Exhibit 6 Pg. 6


                                                 5                                    0120161632

department head, identifying that person by his or her full name and official title. Failure to do
so may result in the dismissal of your case in court. "Agency" or "department" means the
national organization, and not the local office, facility or department in which you work. If you
file a request to reconsider and also file a civil action, filing a civil action will terminate the
administrative processing of your complaint.

                           RIGHT TO REQUEST COUNSEL (Z0815)

If you want to file a civil action but cannot pay the fees, costs, or security to do so, you may
request permission from the court to proceed with the civil action without paying these fees or
costs. Similarly, if you cannot afford an attorney to represent you in the civil action, you may
request the court to appoint an attorney for you. You must submit the requests for waiver of
court costs or appointment of an attorney directly to the court, not the Commission. The
court has the sole discretion to grant or deny these types of requests. Such requests do not alter
the time limits for filing a civil action (please read the paragraph titled Complainant's Right to
File a Civil Action for the specific time limits).

FOR THE COJVIMISSION:


 (~flt.~
Carlton M. Hadden, Director
Office of Federal Operations

 OCT 2 5 2016
Date
         Case 1:17-cv-01932-TSC Document 30-9 Filed 11/19/18 Page 8 of 8
                                      Exhibit 6 Pg. 7

                                               6                                    0120161632


                                CERTIFICATE OF MAILING

For timeliness purposes, the Commission will presume that this decision was received
within five (5) calendar days after it was mailed. I certify that this decision was mailed to the
following recipients on the date below:

Anthony Perry
5907 Croom Station R
Upper Marlboro, MD 20772

Kathryn H. Anderson
Office of Civil Rights, CENHQ 3H068
U.S. Census Bureau
4600 Silver Hill Road
Washington DC 20233

Roy P. Castro, Deputy Director,
Decennial Operations
U.S. Census Bureau
4600 Silver Hill Rd., CENHQ 3H068
Washington, DC 20233


   OCT 2 5 2816
Date



Compliance and Control Division
